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e date 8-27-17 at approximately 11:55 p.m. I, Terence Williams was in the bathtub
getting ready for bed, along with my wife, Anise Williams, who was in the bedroom at the Woodspring
Suites Motel, room 331 located at 5725 financial plaza in Shreveport, Louisiana.

All of sudden, 1, Terence Williams, heatd a tremendous amount of yelling and knocking and
commands from the Shreveport Police Department, at that time I immediately exited the bathtub and
I stopped my wife from opening the door, until I could reveal my firearm to the police. I removed
my firearm ftom the night stand, I removed a loaded clip and I also pulled the chamber back to view
that there was no live rounds remaining, and with the latch applied over the door, I opened the door
enough to slide my empty firearm into their view, I kneeled down to ease it out the door, I closed the
door back, and hurriedly rushed to put some pants on.

However the police gained entry via way of the master key just as I had returned to the doot.
Officer Snyder tackled me upon entry, I had my left hand holding my pants up, and my right hand up
in attempt to explain there was nothing going on. I landed on my back when Officer Snyder tackled
me, Officer Snyder has his forearm in my throat, I immediately displayed both my hands together,
raised wrist to wrist, to show relinquishment, Officer Snyder moved from top of me to my right side
and commenced to beating me with his closed fist to my left side face, ribs, saying stop resisting as I
kept my hands together raised as high as I could in the air.

Officer J. Cole followed immediately behind Officer Snyder. Officer J. Cole was beating me
in my stomach, my legs, and kept trying to push my hands down, and pin me down by my legs, and
she kept saying stop resisting, stop resisting, she also kept telling my wife to stay back mam, stand
back, Officer J. Cole began calling for backup, all this time I couldn’t say anything as I braced myself
for the punches I was receiving. I put up no resistance other than my hands being raised together in
a sutrender mode position, I could have easily been handcuffed, and I remained on my back this whole
time during the altercation. Officer Sgt. Rose saw I was on the floor on my back with my hands up
together but he immediately rushed to my right side and shot his tazor into my right arm just above
the bend in my elbow, on the inside.

I pulled the tazor from my arm, he shot again and connected below my ribs. I pulled the
tazor out, he shot again and connected behind my right knee I pulled the tazor out. He threw the tazor
gun down and came to my left side and made several elbow drops into my ribs and also some knee
drops to my ribs, he came back to my right side and pulled his baton and asked Officer Snyder where
should he hit me, on my arms or legs and Officer Snyder helped Officer Sgt. Rose hold my right leg
down while he hit my legs with his baton, Officer J. Cole called for more backup, Officer Snyder was
still beating me. Officer Jenkins showed up and started beating me on my left side and helped to hold
me down, Officer James came in beating me, and held me down as Officer Snyder beat me until he
was tired. I asked Officer Snyder quote “so it’s like that, is this how you do innocent people to be
able to make an arrest, to beat them up and say they was resisting “ unquote.

I was crying and very busted up. I was then knocked unconscious, I saw that I had been
dragged approximately 6 feet to the right to inside the restroom which is immediately to the left upon
entry of the room. I saw I was still on my back and that officer Snyder had my right arm handcuffed
Officer Cpl. J.P. Saiz were standing on my feet and Officer Snyder was trying to push my cuffed arm
under my back unsuccessfully, but constantly pushing to my back, but he was nowhere close to being
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past my ribs or back, no other officer helped to raise my back up while I was unconscious, that’s when
IT arched my back and pulled my own left arm behind me to help Officer Snyder make a connection.
T was handcuffed and transported to the city jail and booked in, and again transported to the Caddo
Correctional Center and booked in. I was then placed in the medical ward for two more days, and
afterwards I was placed in Men’s Mental Health ward for approximately 2 weeks, and from there I
was released into general population dorms, I was falsely accused and falsely identified as another
Terance Williams from New Orleans who have several felony convictions. He is 5°4” Iam 5711”, his
birthday is 11/20/67, and my birthday is 11/27/66. I don’t know if Officer Cpl. J.P. Saiz has any
assistance in beating me, I only recall he was holding me down by standing on my feet when I has
awakened.

Tam an innocent victim, and a law abiding citizen with no felony convictions. The procedure
[used to reveal my empty firearm into the officers view, are the results and benefits from the training
Pve received in concealed weapons class, and I am very much appreciative of the training. If I would’ve
kept my weapon in the room I could’ve been killed. I always place my empty firearm into a police
officet’s view when I am confronted by police and authority, in turn police, troopers, sheriffs, DEA,
etc, will confiscate my firearm run a check on my setial number and return my firearm to me.

I remained incarcerated at CCC from 8/28/17 until July 26, 2018 on the date 2/28/18 I was
tume served and free to go if I plead to the felony charges of resisting arrest with force or violence,
battery of an officer, disarming an officer and simple criminal damages, I pleaded not guilty and came

before the court in a jury trial on the week of 7-23-18 and found not guilty of felonies on 7-25-18 and
teleased on 7-26-18.

Tam still in the process of doctor’s cate, my back, hips, and knees, the injuries sustained at the
time of the incident are having reoccurring affects, leaving me with limited mobility and can hardly
work to the best of my ability, and it causes me poor performance, at the workplace. I have no more
tools or equipment and I have become indebted with mortgage, and bills, and loss of transportation,
and storage unit, and my wages have been cut off. I ask and plead that this conviction be overturned
and reversed, and at the mercy of the court, I ask to be compensated for these inconveniences.

I declare my true oath before the undersigned notary public that I was not guilty of any form
of resistance on the date in question, I only have proof of the records, and the police would not
comply to having body camera(s) but only have audio, which was presented to me by my lawyer, police
claim to have had no video, and I did not get compliance from motel surveillance. I only have the
evidence that police used against me. I have been falsely accused and a victim of excessive force,
malicious prosecution, false arrest, | would like to be treated with justice.

Sincerely,

hence Oye Be

Terence Williams

 

 

 

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